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F!LED er _,,%.___ D.c.
lN THE UN|TED STATES DlSTR|CT COURT 05 AUG |7
FOR THE WESTERN DlSTR|CT OF TENNESSEE mmr 22

 

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ALMA ROBINSON,
Plaintiff, Case No. 04-2333 D V
VS.

F[RST HORIZON EQUITY LEND]NG,

Defendant.

 

ORDER TO SHOW CAUSE

 

Ori June 29, 2005, Defendant filed a Motion for Surnmary Judgrnent pursuant to Fed.R.Civ.P.
56. Plaintiff has yet to respond to Defenda.nt’ s Motion for Surnmary Judgmerit. Local Rule 7.2(3)(2)
allows the nonmoving party thirty (30) days after service of a motion under Fed.R.Civ.P. 12(b) or
56, in which to file a response with the Court.

Therefore, the Court hereby orders Plaintiff to show cause why Defendant’s Motion for
Summary Judgment should not be decided on the existing record. Plaintiff has twenty (20) days
from the entry of this order in which to file a response. If Plaintiff fails to respond, the Court will,
without further notice, enter an order on Defendant’s Motion for Summary Judgment.

tr ls so oRDERED this g@`“`day of

 
  

UNI ED STATES DISTRICT JUDGE

Th!s document entered on the docket she |n compliance \
with Flu|e 58 and/or ?9(a} FRCP on S’i*§'()\",! 703

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 32 in
case 2:04-CV-02333 Was distributed by faX, mail, or direct printing on
August 18, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

